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Fulton County Superior Court
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Date: 7/7/2017 4:22:58 PM
Cathelene Robinson, Clerk

IN THE SUPERIOR COURT OF FULTON COUNTY
STATE OF GEORGIA

DONNA CURLING, an individual;
COALITION FOR GOOD
GOVERNANCE, a non-profit corporation
organized and existing under Colorado
Law;

DONNA PRICE, an individual;
JEFFREY SCHOENBERG, an individual;
LAURA DIGGES, an individual;
WILLIAM DIGGES III, an individual;
RICARDO DAVIS, an individual;

Plaintiffs,

CIVIL ACTION
FILE NO.: 2017CV292233

Vv.

BRIAN P. KEMP, in his individual
capacity and his official capacity as
Secretary of State of Georgia and

Chair of the STATE ELECTION BOARD; NOTICE OF
RELATED CASE
DAVID J. WORLEY, REBECCA N.
SULLIVAN, RALPH F. “RUSTY”
SIMPSON, and SETH HARP, in their
individual capacities and their official
capacities as members of the STATE

ELECTION BOARD;
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THE STATE ELECTION BOARD;

RICHARD BARRON, in his individual
capacity and his official capacity as
Director of the FULTON COUNTY
BOARD OF REGISTRATION AND
ELECTIONS;

MARY CAROLE COONEY, VERNETTA
NURIDDIN, DAVID J. BURGE, STAN
MATARAZZO and AARON JOHNSON
in their individual capacities and official
capacities as members of the FULTON
COUNTY BOARD OF REGISTRATION
AND ELECTIONS;

REGISTRATION AND ELECTIONS;

MAXINE DANIELS, in her individual
capacity and her official capacity as
Director of VOTER REGISTRATIONS
AND ELECTIONS FOR DEKALB
COUNTY;

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THE FULTON COUNTY BOARD OF )
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MICHAEL P. COVENY, ANTHONY )
LEWIS, LEONA PERRY, SAMUEL )
E. TILLMAN, and BAOKY N. VU )
in their individual capacities and official _)
capacities as members of the DEKALB )
COUNTY BOARD OF REGISTRATIONS )
AND ELECTIONS; )
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THE DEKALB COUNTY BOARD OF
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REGISTRATIONS AND ELECTIONS;

JANINE EVELER, 1n her individual
capacity and her official capacity as
Director of the COBB COUNTY
BOARD OF ELECTIONS AND
REGISTRATION;

PHIL DANIELL, FRED AIKEN, JOE
PETTIT, JESSICA BROOKS, and
DARRYL O. WILSON in their individual
capacities and official capacities as
members of the COBB COUNTY
BOARD OF ELECTIONS AND
REGISTRATION;

THE COBB COUNTY BOARD OF
ELECTIONS AND REGISTRATION;

MERLE KING, in his individual capacity
and his official capacity as Executive
Director of the CENTER FOR ELECTION
SYSTEMS AT KENNESAW STATE
UNIVERSITY; and

THE CENTER FOR ELECTION
SYSTEMS AT KENNESAW STATE
UNIVERSITY

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Defendants.

 

NOTICE OF RELATED CASE

 
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Pursuant to Uniform Superior Court Rule 4.8, Plaintiffs in the above-styled
action hereby notify the Court of a related case. The related case is Donna Curling,
et al. v. Brian Kemp, in his official capacity as Secretary of State of Georgia, et.
al., Case No. 2017cv290630, and it is pending before the Honorable Kimberly M.
Esmond Adams. The instant case and the related case have some of the same
parties and involve some of the same issues though there are different plaintiffs,

defendants, claims, and prayers for relief.

Respectfully submitted this 7" day of July 2017.

/s/ Bryan M. Ward

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